Case 2:04-Cr-20451-BBD Document 28 Filed 07/14/05 Page 1 of 2 Page|D 27

egg _*___ o.c.
IN THE uNITED sTATEs nIsTR:cT counT Fu£n
Fon mm nms-mm nrs'rn:cc'r 01.=' TENNF.ssEE 05 JuL \h p"\Z: 25

WESTERN DIvIsIoN
\AGULD
aqmbézli¥dMHB

 

UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-2045l-D

QUINCY LIGON
Defendant.

 

oRDER oN cHANGE or PLEA
AND SETTING

 

This cause came to be heard on July 12, 2005, the United States
Attorney for this district, Stephanie Zander Johnson, appearing for the
Government and the defendant, Quincy Ligon, appearing in person and with
counsel, Lee Wilson, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, OCTOBER 11, 2005, at
1230 P.M., in Courtrocm No. 3, on the 9th floor before Jddge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

::m-ERED this the /4 day of July, 2005.

 

 

Th\s document entered on the docket shee{?
with Ruls 55 and/dr 3,"('0) FHC.*P on _,__u__m _

 

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20451 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Camille Reese MeMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Lee Wilson

WILSON & WRIGHT
50 N. Front St.

Ste. 640

1\/1emphis7 TN 38103

Stephanie Zander .1 ohnson
U S ATTORNEY'S OFFICE
167 N. Main St

Ste 800

1\/1emphis7 TN 38103

Michael Robert McCusker

U.S. ATTORNEY'S OFFICE- Memphis
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

